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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 IN RE: MULTIPLAN HEALTH                            Case No. 1:24-cv-6795
 INSURANCE PROVIDER LITIGATION                      MDL No. 3121

 This Document Relates To:                          Hon. Matthew F. Kennelly

 1:24-cv-7177
 1:24-cv-6802


    DEFENDANTS’ JOINT MOTION TO DISMISS THE CONSOLIDATED CLASS
                        ACTION COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants MultiPlan, Inc.,

MultiPlan Corporation, National Care Network, LLC, Viant Payment Systems, Inc., Viant, Inc.,

Aetna, Inc., Blue Shield of California Life & Health Insurance Company, Blue Cross Blue Shield

of Michigan Mutual Insurance Company, The Cigna Group, Elevance Health, Inc., Health Care

Service Corporation, Highmark Inc., Horizon Healthcare Services, Inc. (Horizon Blue Cross and

Blue Shield of New Jersey), and UnitedHealth Group Inc. (collectively “Defendants”) hereby

move this Court to dismiss Plaintiffs’ Consolidated Class Action Complaint with prejudice.

In support of this Motion, Defendants concurrently submit a Memorandum of Law in Support and

the Declaration of Sadik Huseny with attached exhibits.




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Dated: January 16, 2025

Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

        I, Sadik Huseny, hereby certify that on this 16th day of January, 2025, I caused the

foregoing to be electronically filed with the Clerk of the Court of the United States District Court

for the Northern District of Illinois, Eastern Division, using the CM/ECF system, which sent

notification of such filing to all filing users.



                                                   /s/ Sadik Huseny
                                                   Sadik Huseny




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